Filed 03/29/19                                                    Case 18-27848                                                      Doc 18


               RELIEF FROM STAY SUMMARY SHEET
        * * * * INSTRUCTIONS ON FORM 3-468-INST * * * *
        COMPLETE ALL PORTIONS APPLICABLE TO THE RELIEF FROM STAY MOTION
        THIS IS IN THE NATURE OF A PRETRIAL STATEMENT AND IS NOT EVIDENCE

         DEBTOR:                 Brandon Michael Baxter                   CASE NO.            18-27848

         MOVANT:                 Specialized Loan Servicing LLC           DC NO.              CJO-1
         HEARING DATE/TIME:                         April 17, 2019 at 10:00 a.m.
         RELIEF IS SOUGHT AS TO
          (X)REAL PROPERTY                        Assessor Parcel Number (APN):           086-310-024-000
          ( )PERSONAL PROPERTY                    If applicable, Vehicle Identification Number (VIN):
          ( )STATE COURT LITIGATION

        1. Address OR description of property or state court action 3571 Park Drive, Cottonwood, CA 96022

        2. Movant’s trust deed is a ( X ) 1st ( ) 2nd ( ) 3rd ( ) Other
        OR

           Leased property is ( ) Residential ( ) Non-residential           Term:     ( ) Month-to-Month     ( ) Other

        3. Verified appraisal filed?                         Movant’s valuation of property        $ 207,000.00

        4. The following amounts are presently owing to movant for:
        PRINCIPAL                         INTEREST                             COSTS                          TOTAL
        $ 131,335.68                      $1,851.41                            $356.19                        $133,542.81

        5. State identity, rank, and balance owing to other known lien holders. Use additional page if necessary.
            1.                                                                   $ $
                                                                                    $ $
            3.                                                                      $ $


                                        TOTAL ALL LIENS                             $ 133,542.81
                                       DEBTOR'S EQUITY                              $ 73,457.19


        6. Monthly payment $873.51          of which $246.95          is for impound account. Monthly late charge is $0.00
        7. The last payment by Debtor was received on February 20, 2019        and was applied to the payment due December 1, 2018
        8. Number of payments past due and amount (a) Pre-petition 0 $ 0.00              (b) Post-petition 3 $ 2,620.06


        9. Notice of default was recorded on Not Applicable                Notice of sale was published on Not Applicable
        10. If a chapter 13 case, in what class is this claim?

        11. Grounds for seeking relief (check as applicable):

            ( X ) §362(d)(1)    ( ) 362(d)(2)      ( ) §362(d)(3)     ( ) §362(d)(4)
            ( ) Cause        ( ) Inadequate Protection ( ) Lack of equity        ( ) Lack of insurance      ( ) Bad faith
            ( X ) Other Property to be Surrendered
        12. For each ground checked in item 11, furnish a brief supporting statement in the space below. Use additional page(s) if
        necessary.

        The Property is being surrendered-362(d)(1)




        EDC 3-468 (Rev. 11/10)
